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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

MILAN MICHAEL KOTEVSKI                                                   CIVIL CASE NO.

VERSUS

HILLARY RODHAM CLINTON, ET AL.                                           24-310-BAJ-EWD


                                            ORDER

       I hereby recuse myself from this matter, No. 24-310-BAJ-EWD, Milan Michael Kotevski

v. Hillary Rodham Clinton, et al., (M.D. La. April 15, 2024).

       Signed in Baton Rouge, Louisiana, April 18, 2024.



                                             S
                                             ERIN WILDER-DOOMES
                                             UNITED STATES MAGISTRATE JUDGE
